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United States District Court
District of Connecticag
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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

CARA MUNN,
Plaintiff, : NO. 3:09-cv-0919 (SRU)
Vv.

THE HOTCHKISS SCHOOL,

Defendant.

 

VERDICT FORM

We the jury unanimously find as follows:

Question 1: Has the plaintiff proven by a preponderance of the evidence that the Hotchkiss
School (“Hotchkiss”) was negligent in failing to warn Cara Munn before or during the trip to
China in the summer of 2007 about the risk of insect-borne illness on the trip?

Yes MA No

(Go on to Question 2.)

Question 2: Has the plaintiff proven by a preponderance of the evidence that Hotchkiss was
negligent in failing to ensure that Cara Munn used protective measures to prevent infection by an
insect-borne disease while visiting Mt. Pan?

Yes wh No

(Uf you answer “YES,” to either Question 1 or 2, then go on to Question 3. If you
answer “NO,” to both, then the foreperson should sign and date this form.)

Question 3: Has the plaintiff proven by a preponderance of the evidence that Cara Munn was
infected by an insect-borne disease while visiting Mt. Pan?

Yes v No

(If you answer “YES,” then go on to Question 4. If you answer “NO,” then the
Joreperson should sign and date this form.)
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Question 4: Was one or more of Hotchkiss’s negligent acts or omissions a cause-in-fact of Cara
Munn’s injuries? eft
Yes No

(If you answer “YES,” then go on to Question 5. If you answer “NO,” then the
foreperson should sign and date this form.)

Question 5: Was one or more of Hotchkiss’s negligent acts or omissions a substantial factor that,
acting alone or in conjunction with other factors, brought about Cara’s injuries?

Yes J No

(Uf you answer “YES,” then go on to Question 6. If you answer “NO,” then the
Joreperson should sign and date this form.)

Question 6: If you answered “Yes” to Question 5, then enter the amount of damages that you
find the plaintiffs have proven by a preponderance of the evidence to be fair and reasonable
compensation for their injuries:

(a) Past economic damages $450,000 99

(b) Future economic damages $ 600, 000 ae

(c) Cara Munn’s non-economic damages $ 3| j 500, o0n.°?
¢ 11,450, ooo °°

 

(d) Total damages

Question 7: Do you find that defendant proved by a preponderance of the evidence that Cara
Munn was negligent in a manner that partially caused her injuries and the damages you found in
Question 6? If yes, enter Cara’s percentage of fault. If no, enter zero.

Yes No 4
Percentage of Cara Munn’s fault GF

Take the total damages listed above, multiply that total by the percentage attributable to
Cara Munn’s negligence, subtract the resulting figure from the total damages amount, and state

the resulting adjusted total here: oO
—— s 11,450, 000 °
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(The foreperson should sign and date this form)

FOR THE JURY,

Signature of Foreperson

3/27/13

 

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Date
